Case 2:04-cr-20238-BBD Document 39 Filed 05/23/05 Page 1 of 2 Page|D 35

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UNITED STATES OF AMER|CA i;_-»-:
P|aintif"l

VS.
CR. NO. 04-20238-[)

LORENZO CALDERON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a r_epo_rt
date ofThursdav1 June 30. 2005. at 9:00 a.m., in Courtroom 3. 9th F|oor ofthe Federa|
Bui|ding, |Vlemphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

1T is so oRDEREo this 028 day of May, 2005.

 

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UNITED sATE DSTIIC COURT - WTERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 39 in
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Honorable Bernice Donald
US DISTRICT COURT

